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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

[ Original Plan
[m] Ist Amended Plan (Indicate Ist, 2nd, ete. Amended, if applicable)
[J]. Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Yanet Ravelo JOINT DEBTOR: _ CASE NO.: 17-22455-LMI
SS#: XxXx-xx- 0773 SS#: XXX-Xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)\(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may

be reduced, modified or eliminated.

To All Parties; The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

| The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor _ =) Satoned C ne inGhIeS
hmdanc P ey 7 icq ie Seage F 7 Cee a7 eer 1. aaeesthiga et hess ‘
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set rl tnctuded ball nae dedudied
|_out in Section III oe =
| Nonstandard provisions, set out in Section VII [_] Included @| Not included
Ik. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10°%s, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10°o, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $367.77. ss formonths— 1 to _4
2. $362.45 for months 5 to_60_:
B. DEBTOR(S)' ATTORNEY'S FEE: []NONE [7] PRO BONO
| Total Fees: $4175.00 Total Paid: $915.00 Balance Due: $3260.00 -
Payable $75.47 ‘month (Months 1 to 4 )
Payable $64.31 _ ‘month(Months 5 to 50 )

Allowed fees under LR 2016-1(B \(2) are itemized below:
$3500 (fees) $500 (MTV) + $175 (costs) = $4175

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
iil. TREATMENT OF SECURED CLAIMS
A. SECURED CLAIMS: [im] NONE

[Retain Liens pursuant to 11 U.S.C. $1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

B. VALUATION OF COLLATERAL: [—] NONE
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [mf] NONE
2. VEHICLES(S): [_] NONE

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IV.

VI.

VIL.

VIIL.

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1. Creditor: Santander Consumer USA

Address: PO Box 560284
Dallas, TX 75356

Last 4 Digits of Account No.: 0302
VIN: 2GKALTEK5E61 10908

Description of Collateral:

| 2014 GMC Terrain

Check one below:
moun incurred 910 davs or more pre-

petition
Claim incurred less than 910 days pre-
petition

Value of Collateral: $13,138.00

Amount of Creditor's Lien: $27,223.89

Interest Rate: 6.25%

Payment

Total paid in plan: © $15,331.20

D2. De

“|

/‘month (Months 1 to 60 )

3. PERSONAL PROPERTY: [mf] NONE

D., SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

distribution fom the Chapter 13 Trustee.

fm) NONE

DIRECT PAYMENTS
fom the Chapter 13 Trustee.

fi) NONE

Ei

: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a\(4)]

A.
B.
G3

D. OTHER: [mi] NONE

A. Pay
Pay

Pay

$0.00 ‘month (Months 1 |
$6.38 ‘month (Months 4
$70.69 month (Months 41

ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lf] NONE
INTERNAL REVENUE SERVICE: [mf] NONE
DOMESTIC SUPPORT OBLIGATION(S): [if] NONE

to 4)
to 50)

to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [] Ifchecked, the Debtor(s) will amend/modify to pay 100° to all allowed unsecured nonpriority claims.

C, SEPARATELY CLASSIFIED:

[a] NONE

*Debtor(s) certily the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority

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creditors pursuant to 11 U.S.C. § 1

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this

section shall not receive a distribution from the Chapter 13 Trustee.

[m] NONE

INCOME TAX RETURNS AND REFUNDS: [il] NONE

NON-STANDARD PLAN PROVISIONS [m) NONE

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

s/ Yanet Ravelo Debtor February 19, 2018 Joint Debtor
Yanet Ravelo Date Date
Attorney with permission to si gn on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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